Case 1:23-cv-20045-RKA Document 17-4 Entered on FLSD Docket 08/22/2023 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   ERIC & CO TRADING GROUP LLC,                                  CASE NO.: 23-CV-20045-RKA

          Judgment Creditor,

   v.

   FLOYD MAYWEATHER, JR.,

          Judgment Debtor.

   and

   JP MORGAN CHASE BANK, N.A. and
   ENHANCE HEALTH LLC,

         Garnishees.
   ___________________________________/

                                     WRIT OF GARNISHMENT

   THE STATE OF FLORIDA:

   To Each Sheriff of the State:

          YOU ARE COMMANDED to summon the garnishee, JP MORGAN CHASE BANK,

   N.A., c/o CT Corporation System, Registered Agent, 1200 S. Pine Island Road, Plantation,

   Florida 33324, to serve an answer to this writ on Judgment Creditor’s attorney, whose address is

   Zachary P. Hyman, Esq., Millennial Law, 501 E. Las Olas Blvd, Suite 200/314, Fort Lauderdale,

   Florida 33301 within 20 days after service on the garnishee, exclusive of the day of service, and

   to file the original with the clerk of this court either before service on the attorney or immediately

   thereafter, stating whether the garnishee is indebted to Judgment Debtor, ERIC & CO TRADING

   GROUP LLC, at the time of the answer or was indebted at the time of service of the writ, or at any

   time between such times, and in what sum and what tangible and intangible personal property of

   the Judgment Debtor the Garnishee is in possession or control of at the time of the answer or had
Case 1:23-cv-20045-RKA Document 17-4 Entered on FLSD Docket 08/22/2023 Page 2 of 2




   at the time of service of this writ, or at any time between such times, and whether the garnishee

   knows of any other person indebted to the defendant or who may be in possession or control of

   any of the property of the Judgment Debtor. The amount set in plaintiff’s motion is the sum of

   $1,168,650.00, plus prejudgment interest of $111,551.32 and post-judgment interest, attorneys’

   fees and costs in the amount of $8,576 remains due and unpaid on the Judgment.


           DATED:


                                               ANGELA E. NOBLE
                                               CLERK OF COURT


                                               By: _________________________________
                                                  As Deputy Clerk

   Copies furnished to:
   Zachary P Hyman, Esq.
   zach@millenniallaw.com
   jessica@millenniallaw.com
   assistant@millenniallaw.com
   millenniallawforms@gmail.com

   Floyd Mayweather, Jr.
   288 South Coconut Lane
   Miami Beach, Florida 33139
